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     Federal Defender
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     Senior Litigator
 3   Designated Counsel for Service
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 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   BRANDON COLEMAN
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. CR-S-08-306 EJG
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER TO CONTINUE
13        v.                         )     STATUS CONFERENCE
                                     )
14   BRANDON COLEMAN,                )
                                     )     Date:    October 17, 2008
15                  Defendant.       )
                                     )     Time: 10:00 a.m.
16   _______________________________ )     Judge: Hon. Edward J. Garcia
17
18         It is hereby stipulated between the parties, Michael Beckwith,
19   Assistant United States Attorney, and Caro Marks, attorney for
20   defendant Brandon Coleman, as follows:
21        The Status Conference date of September 26, 2008 should be
22   continued until October 17, 2008.       At the AUSA’s request, the defense
23   is gathering records about the educational and job history of Mr.
24   Coleman, in service of his pursuit of a resolution of his case under
25   Chapter Five of the sentencing guidelines. The defense has not yet
26   received all the relevant records the government has requested about
27   the defendant’s job and educational background. The government also
28   still needs additional time to pursue leads resulting from Mr.
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 1   Coleman’s debriefing.
 2         IT IS STIPULATED that the period from the signing of this Order up
 3   to and including October 17, 2008 be excluded in computing the time
 4   within which trial must commence under the Speedy Trial Act, pursuant
 5   to   18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing
 6   preparation of counsel.
 7
 8   Dated: September 23, 2008                  Respectfully submitted,
 9                                             DANIEL BRODERICK
                                               Federal Defender
10
                                               /s/ Caro Marks
11                                              ________________________
                                               CARO MARKS
12                                             Assistant Federal Defender
                                               Attorney for Defendant
13                                             BRANDON COLEMAN
14
15   Dated:     September 23, 2008             MCGREGOR SCOTT
                                               United States Attorney
16
17                                              /s/ Michael Beckwith
                                               _________________________
18                                             MICHAEL BECKWITH
                                               Assistant U.S. Attorney
19
20
21                                           ORDER
22             UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
23   ordered that the status conference presently set for September 26,
24   2008, be continued to October 17, 2008, at 10:00 a.m.             Based on the
25   representation of defense counsel and good cause appearing therefrom,
26   the Court hereby finds that the failure to grant a continuance in this
27   case would deny defense counsel reasonable time necessary for effective
28   preparation, taking into account the exercise of due diligence.             The


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 1   Court finds that the ends of justice to be served by granting a
 2   continuance outweigh the best interests of the public and the defendant
 3   in a speedy trial.      It is ordered that time from this date to, and
 4   including, the October 17, 2008 status conference shall be excluded
 5   from computation of time within which the trial of this matter must be
 6   commenced under the Speedy Trial Act pursuant to 18 U.S.C. §
 7   3161(h)(8)(A) and (B)(iv) and Local Code T-4, to allow counsel time to
 8   prepare.
 9   Dated: September 24, 2008
10                                           /s/ Edward J. Garcia
                                             EDWARD J. GARCIA
11                                           Senior United States District Judge
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